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                                                                               EASTERN DISTRICT ARKANSAS

                        IN THE UNITED STATES DISTRICT COURT   MAY 3 0 2013
                            EASTERN DISTRICT OF ARKANSAS JAM~~!!lW'\~ERK
                                 WESTERN DIVISION     ·  By: ~LERK

UNITED STATES OF AMERICA                                                                PLAINTIFF

v.                                  No. 4:11CR00290-07 JLH

LYNSAY HENRY                                                                         DEFENDANT

                                             ORDER

        On October 31, 2012, this Court sentenced Lynsay Henry to a term of thirty months in the

Bureau of Prisons for conspiracy to possess with intent to distribute Oxycodone. The Court allowed

Henry to self-report and gave her a report date of January 7, 2013. On December 19, 2012, Henry

was arrested in Sharp County, Arkansas, and charged, among other things with felony theft of

property in violation of Ark. Code Ann. § 5-36-103(b )(3)(C), second degree forgery in violation of

Ark. Code Ann.§ 5-37-201, and fraudulent use of a credit card in violation of Ark. Code Ann.§ 5-

37-207(b)(3). On January 8, 2013, the United States filed a motion for an arrest warrant in this

action, stating that Henry had failed to report to the designated Bureau of Prisons facility and had

been arrested on new charges and held in Sharp County. The Court granted the motion for an arrest

warrant and directed that the warrant be lodged as a detainer with state authorities in Sharp County.

On January 16, 2013, Henry entered a guilty plea in the Circuit Court of Sharp County and was

sentenced to a term of sixty months in the Arkansas Department of Correction to run concurrent with

her sentence in this case.

       Henry now asks this Court to amend the judgment in this case to provide that her term of

imprisonment in the Bureau of Prisons run concurrent with her term of imprisonment in the

Arkansas Department of Correction.
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        The Court may not modify a term of imprisonment after it has been imposed except in very

limited circumstances relating mostly to modifications to the sentencing guidelines. See 18 U.S.C.

§ 3582(c). This statute does not authorize the Court to modify a term of imprisonment after it has

been imposed to make it run concurrent with some other term of imprisonment that the offender is

serving. See United States v. Dunn, 631 F.3d 1291, 1292-93 (D.C. Cir. 2011) ("[A] court's authority

in a sentence-reduction proceeding is strictly limited to shortening the length of a prison term and

does not relate to collateral matters unrelated to the Guidelines change." (relying on Dillon v. United

States,--- U.S.---, 130 S. Ct. 2693, 177 L. Ed. 2d 271 (2010))); Traynor v. Fed. Bureau of Prisons,

131 F.3d 152, at *2 (lOth Cir. 1997) ("[T]he court has no authority to modify Traynor's sentence

retroactively to make it run concurrent to the state sentence he is currently serving.").

       The question is whether Henry will receive credit on her federal sentence for the time that

she is currently serving in the Arkansas Department of Correction. This Court cannot make that

determination. Instead, the issue of whether Henry will receive credit for time served is reserved for

the Bureau of Prisons. United States v. Pardue, 363 F.3d 695,699 (8th Cir. 2004). Administrative

procedures exist within the Bureau of Prisons to review any failure to credit time served, should that

happen. /d. Mter administrative remedies are exhausted, a prisoner may seek judicial review of the

failure to award credit for time served. /d.; see also 28 U.S.C. § 2241.

       Furthermore, the Bureau of Prisons has the authority to designate Henry's present place of

incarceration as the place where she will serve her federal sentence. 18 U.S.C. § 3621(b ). The effect

of such a designation would be to make the federal sentence concurrent with the state sentence. See

Fegans v. United States, 506 F.3d 1101, 1104-05 (8th Cir. 2007). Henry's recourse, at this time, is

to write the regional director of the Bureau of Prisons to request that the Arkansas Department of


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Correction be designated as the place of her federal confinement. See United States v. Stewart, No.

4:00CR40009-002, 2009 WL 1286490 (W.D. Ark. May 7, 2009). 1

       The motion is denied.




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         The regional director is J.A. Keller, South Central Regional Office, Federal Bureau of
Prisons, 4211 Cedar Springs Road, Dallas, TX 75219. This Court has no objection if the Bureau of
Prisons decides to designate the Arkansas Department of Correction as the place where Henry will
serve her federal sentence.

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